                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )      No.:    3:02-CR-78-TAV-CCS-14
                                                )
MICHAEL SMITH,                                  )
                                                )
              Defendant.                        )


                       MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s pro se Motion under 18

U.S.C. § 3582(c)(2) [Doc. 1251] to which the government responded in opposition [Doc.

1263].1

        In his motion, the defendant asks the Court to resentence him in light of Sentencing

Guidelines Amendment 794, which clarifies the circumstances under which courts should

grant a minor or minimal role reduction under U.S.S.G. § 3B1.2. The Court notes that 18

U.S.C. § 3582(c) authorizes a sentence reduction when consistent with the policy

statements in the Sentencing Guidelines, where a defendant has “been sentenced to a term

of imprisonment based on a sentencing range that has been subsequently lowered by the

Sentencing Commission” via a retroactively applicable amendment. See 18 U.S.C. §

3582(c)(2).



        1
         The Court notes that the defendant’s motion was initially labeled as one under 28 U.S.C.
§ 2255, but the Court entered an order construing it as having been filed pursuant to 18 U.S.C. §
3582(c)(2).


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       In this case, the Sentencing Commission has not designated Amendment 794 as a

retroactive amendment by listing it in U.S.S.G. § 1B1.10(d). Because § 1B1.10 is a policy

statement, and because § 1B1.10(d) does not list Amendment 794 as a retroactive

amendment, resentencing the defendant in light of Amendment 794 would not be consistent

with the Sentencing Commission’s policy statements. Thus, it is not warranted under 18

U.S.C. § 3582(c)(2). See United States v. Sprouse, No. 2:12-cr-122, 2017 WL 218376, at

*2 (E.D. Tenn. Jan. 18, 2017) (finding that a sentence reduction under Amendment 794 is

not consistent with applicable policy statements issued by the Sentencing Commission, and

thus not available under 18 U.S.C. § 3582(c)(2)).2

       Therefore, because resentencing the defendant pursuant to Amendment 794 would

be inconsistent with the Sentencing Commission’s policy statements, § 3582(c)(2) does

not authorize the Court to resentence the defendant. As such, the Court DENIES the

defendant’s motion [Doc. 1251].

       ENTER:


                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE




       2
         The Court notes that the Sixth Circuit has held that Amendment 794 applies retroactively
to cases on direct appeal to an appellate court. See United States v. Carter, No 15-3618, 2016 WL
5682707 (6th Cir. Oct. 3, 2016). However, the defendant’s sentence in this case is already final,
rendering Carter inapplicable.
                                                  2


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